Case 2:04-CV-O2988-BBD-tmp Document 22 Filed 06/20/05 Page 1 of 2 Page|D 33

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IN THE UNITED STATES DISTRICT COURT L
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUH 20 FH 2; 53

 

WESTERN DIVISION
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§ W.o, otr ‘!‘N. MEMPH:S
DAVID FOUCAULT,
Plaintiff,
VS No. 2=04-Cv-02988 BBD

THE LASIK VISION INSTITUTE, et al

Del`endants.

 

ORDER GRANTING EX'I`ENSION OF TIME

 

Upon the Motion of Defendant Ken M. Son and Ken M. Son, P.C. (a non-entity),
it is hereby ordered that the Defendant shall have an additional 30 days or until and

including July 22, 2005 in Which to respond to the Complaint.

ALL OF WHICH IS THEREFORE, OR])ERED, ADJUDGED AND

 

 

DECREED.

JUDGE
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DATED: ~) UI~L U°, 'L-*o>/
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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:04-CV-02988 Was distributed by faX, mail, or direct printing on
June 2l , 2005 to the parties listcd.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

